
213 Md. 642 (1957)
131 A.2d 394
CUNNINGHAM
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 78, October Term, 1956.]
Court of Appeals of Maryland.
Decided May 3, 1957.
Before BRUNE, C.J., and COLLINS, HENDERSON, HAMMOND and PRESCOTT, JJ.
HENDERSON, J., delivered the opinion of the Court.
This is an application for leave to appeal from a denial of a writ of habeas corpus. Petitioner was sentenced to two years in the Reformatory for Males, after being convicted of receiving stolen goods. He escaped and was sentenced for *643 an additional six months. Petitioner complains of the insufficiency of the evidence to convict. It is well settled that the sufficiency of the evidence can be reviewed only on direct appeal, but not on habeas corpus. Walker v. Warden, 210 Md. 654, and cases cited. The petitioner was represented by counsel, and no appeal was taken.
Application denied, with costs.
